     Case: 1:23-cv-01764 Document #: 51 Filed: 08/10/23 Page 1 of 1 PageID #:2383




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

NIKE, INC.,
                                                      Case No. 23-cv-01764
               Plaintiff,
                                                      Judge John F. Kness
v.
                                                      Magistrate Judge Young B. Kim
THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Nike, Inc.

(“Plaintiff” or “Nike”) hereby dismisses this action, with leave to reinstate within two hundred and

seventy (270) days, as to the following Defendants:

                  Defendant Name                                      Line No.
                      GSIGUL                                            124
                   chengnuo2020                                         154

Dated this 10th day of August 2023.                   Respectfully submitted,

                                                      /s/ Marcella D. Slay
                                                      Amy C. Ziegler
                                                      Justin R. Gaudio
                                                      Marcella D. Slay
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